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UN|TED STATES DISTRICT COURT
D!STR|CT OF CONNECT}CUT

 

VALER|E N!ORRELL C|VlL ACTION

Piainfiff,

V.

HOUSTON FUND|NG il, L|MITED PARTNERSH!P
Defendant

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FEBRUARY 9, 2011

 

COMPLA!NT

1. This is a suit brought under the Fair Debt Coiiection Practices Act (“FDCPA”),
15 U.S.C. §§ 1692 et seq. and includes a pendent ciairn brought under State law for
violation of the Creditor Co|iection Practices Act (“CCPA"), Conn. Gen. Stat. §§ 36a-645
et seq.

2. Piaintitf, Vaierie Morre||, is a naturai person residing in Gui|ford, Connecticut
and is a consumer as defined by the FDCPA 15 U.S.C. §1692a(3).

3. The c;iefendantl Houston Funding |i, Lirnited Partnership (“Houston”), is a
Foreign Limited Partnership iocated in Texas that purchases and coiiects consumer
debts and is iicensed by the Connecticut Department of Bank§ng as a Consumer
Coi|ection Agency and is a debt coifector as defined by FDCPA § 1692a(6).

4. durisdiction in this Court is proper pursuant to 15 U.S.C. § 1692k(d), 28

u.s.c. §§ 1331, 1367,an<31337_

 

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5. This Court has jurisdiction over i-louston because it engages in debt collection
Within Connecticut.

6. Venue in this Court is proper, because the Piaintiff is a resident and the acts
compiained of occurred in this state

7. Houston Funding claimed that P|aintifi owed a consumer debt hat Was
purchased by Houston_

8. On or around January 13, 2011, i-iouston ca|ied Pfaintiff’s home in an attempt
to coi|ect the account and left a message that failed to state that the communication Was
from a debt collector and failed to state that i-|ouston was attempting to collect a debt.

9. Houston has violated the FDCPA and the CCPA.

WHEREFORE, the P|aintiff seeks recovery of monetary damages pursuant to 15 U.S.C.
§ 1692i<; statutory damages pursuant to 15 U.S.C. § 1692k; attorney’s fees and costs
pursuant to 15 U.S.C. § 1692k; actual damages, statutory damages1 and attorney’s fees
and costs pursuant to Conn. Gen. Stat. § 36a-548; and such other relief as this Court

deems appropriate

PLA|NTlFF, VALER|E MORRELL

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